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and Debtors in Possession


UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK

                                                         )
    In re:                                               )    Chapter 11
                                                         )
    COLLECTIVE, INC., et al.,                            )    Case No. 18-_____ (___)
                                                         )
                                    Debtors. 1           )    (Joint Administration Requested)
                                                         )
                                                         )

                         DECLARATION OF KERRY BIANCHI
              PURSUANT TO RULE 1007-2 OF THE LOCAL BANKRUPTCY RULES
                     FOR THE SOUTHERN DISTRICT OF NEW YORK

             I, Kerry Bianchi, make this declaration under 28 U.S.C. § 1746:

             1.     I am the President and Chief Executive Officer (“CEO”) of Collective, Inc.

(“Collective”) and its affiliate, CME Co-Op, LLC, the debtors and debtors in possession in the

above captioned chapter 11 cases (collectively, the “Debtors”). I have served as Collective’s

President and CEO since 2017. Prior to becoming President and CEO of Collective, I held the



1
          The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax
identification number, include: Collective, Inc. (2024) and CME Co-Op, LLC (N/A). The location of the Debtors’
corporate headquarters and the Debtors’ service address is: 72 Madison Ave, 3rd Floor, New York, NY 10016.
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role of Chief Operating Officer from 2015 to 2016 and the role of President from 2016 to 2017.

In my capacity as President and CEO, I am generally familiar with the Debtors’ day-to-day

operations, business and financial affairs, and books and records. I am above 18 years of age and

I am competent to testify.

       2.      I submit this declaration (this “Declaration”) in accordance with Rule 1007-2 of

the Local Bankruptcy Rules for the Southern District of New York (the “Local Bankruptcy

Rules”): (a) to assist this court (the “Court”) and parties in interest in understanding the Debtors,

their operations, their capital structure, and the circumstances related to the commencement of

the chapter 11 cases; and (b) in support of: (i) the Debtors’ petitions for relief under chapter 11 of

title 11 of the United States Code (the “Bankruptcy Code”) filed on the date hereof (the

“Petition Date”); (ii) the relief requested by the Debtors pursuant to the pleadings described

herein (collectively, the “First Day Motions”), and (iii) the relief requested by the Debtors

pursuant to the Debtors’ Motion, Pursuant to 11 U.S.C. §§ 105, 363, and 365 and Fed. R. Bankr.

P. 2002, 6004, and 6006, for Approval of (I) (A) Bidding Procedures, (B) Stalking Horse Asset

Purchase Agreement and Bid Protections, (C) Form and Manner of Notice of Auction, Sale

Transaction, and Sale Hearing, and (D) Assumption and Assignment Procedures; and (II) (A)

Purchase Agreement, (B) Sale of Substantially all of Debtors’ Assets Free and Clear of Liens,

Claims, and Interests, and (C) Assumption and Assignment of Certain Executory Contracts and

Unexpired Leases (the “Sale Motion”).

       3.      Except as otherwise indicated, all facts set forth in this Declaration are based upon

my personal knowledge, my discussions with other members of the Debtors’ management team

and the Debtors’ advisors, my review of relevant documents and information concerning the

Debtors’ operations, financial affairs, and restructuring initiatives, or my opinions based upon



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my experience and knowledge. If called as a witness, I would testify competently to the facts set

forth herein. I am authorized to submit this Declaration on behalf of the Debtors.

                                             Overview

       4.      Collective, known in the marketplace by its trade name—Visto—is primarily a

software-as-a-service provider that, through its Enterprise Advertising Hub platform, allows

brands, advertising agencies, and advertisers to purchase and place advertising and monitor and

evaluate data with respect thereto. Collective also offers managed services to media and

publisher clients, where Collective employees provide proposals to clients, and then implement

and monitor advertising campaigns for those clients.

       5.      Since transitioning to a primarily software-based business, however, Collective

has struggled to build its sales pipeline, as the sales cycle of implementing this transition has

turned out to be extensive and longer than anticipated, which in turn has been a strain on cash

flow. As of September 30, 2018, Collective reported total assets of approximately $39.9 million

and total liabilities of approximately $23 million.

       6.      The Debtors have commenced these chapter 11 cases on a consensual basis with

the support of their prepetition secured lender, which holds a properly perfected “all asset” lien

on substantially all of the Debtors’ assets, to pursue an auction process and going-concern sale of

substantially all of the Debtors’ assets. The sale of the Debtors’ assets is the primary purpose of

these chapter 11 cases and is critical to maximizing the value of the assets for the benefit of the

Debtors’ estates.

       7.      Prior to the Petition Date, Collective, with the assistance of its investment banker,

Oaklins DeSilva & Phillips LLC, engaged in an extensive marketing process for a going concern

sale. I was actively involved in and am familiar with that process. Approximately 70 potential

acquirers were contacted; 15 executed non-disclosure agreements as part of the diligence process
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and received a Confidential Information Memorandum; and three submitted non-binding

indications of interest for Collective’s assets. Unfortunately, none of those indications of interest

were at a price that would satisfy the Debtors’ secured creditor’s claims in full or provide a

meaningful benefit to the Debtors’ estates. Accordingly, the Debtors began preparations to file

these chapter 11 cases, initially planning to conduct a “naked” auction, in the belief that a sale

process through chapter 11, with the benefit of Bankruptcy Code section 363’s “free and clear”

provisions, would offer the opportunity to attract concrete and meaningful bids from parties not

otherwise previously interested in pursuing an acquisition “outside of bankruptcy” that would

inure to the benefit of the Debtors’ stakeholders.

        8.      On October 30, 2018, Zeta Global Holdings Corp. (“Zeta” or the “Stalking

Horse Bidder”) submitted a formal letter of intent for the purchase of substantially all of the

Debtors’ assets. Following significant negotiations with Zeta, and in the absence of any

competing bids, Collective and its board concluded that they had received the best possible bid

for the Purchased Assets (as defined in the Stalking Horse APA) as a going concern that would

maximize value for all of the Debtors’ stakeholders, and the parties executed the letter of intent

on November 2, 2018. Following further negotiations, Collective decided to proceed with Zeta’s

bid, as reflected in the asset purchase agreement attached to the Sale Motion as Exhibit B (the

“Stalking Horse APA”), as a stalking horse bid (the “Stalking Horse Bid”).

        9.      Collective has concluded in the exercise of its business judgment and as a

fiduciary for all of Collective’s stakeholders that the best path to maximize the value of its

business is a chapter 11 filing to facilitate the pursuit of a going concern sale of its assets to the

Stalking Horse Bidder or other bidder that submits a higher or otherwise better offer through the

sale process described in the Sale Motion. The sale process will also afford bidders the



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opportunity to bid for assets that are not included in the Stalking Horse Bid, including certain

assets related to Collective’s legacy managed services business, certain contracts, and equity in

the Debtors’ foreign subsidiaries. It is Collective’s judgment that if it cannot achieve a free and

clear sale of its assets within the time periods prescribed by the Sale Motion, Collective will face

a certain foreclosure on its assets by Collective’s secured creditor.

        10.     In furtherance of the Debtors’ objectives during these chapter 11 cases, the

Debtors’ secured creditor has agreed to extend debtor in possession financing in the form of a $4

million first-priority secured term loan (the “DIP Facility”), and has consented to the use of its

cash collateral, to fund the post-petition auction and sale process. The Debtors anticipate that

they will have sufficient liquidity to support their working capital needs during the initial stages

of these chapter 11 cases and to consummate a going concern sale of their assets, to the benefit

of all of their stakeholders.

      Collective’s Current Business, Corporate History, and Restructuring Initiatives

A.      Collective’s Legacy Business

        11.     Collective was formed in 2007 under the name Collective Media, Inc. At that

point, Collective operated a managed services online advertising network, which primarily

purchased and placed digital advertising on behalf of agencies, marketers, and publishers on an

order by order basis.

        12.     Collective experienced considerable growth through 2013, with revenues peaking

at $174 million in that year. Collective did several equity fundraises through 2013, as well as a

$5 million investment in the form of a convertible note from a strategic investor affiliated with

an affiliate of Samsung Venture Investment Corporation (the “Samsung Note”).

        13.     As a result of this growth, Collective began substantial preparation for an initial

public offering in 2013. However, within the next twelve months and before any IPO went to
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market, Collective began experiencing a downturn in its traditional managed service business

due to a significant decrease in buys from large advertising agency holding companies who were

beginning to build their own internal advertising trading desks to buy digital ads themselves

instead of using companies like Collective to buy it for them. As a result, the IPO was pulled.

B.     Collective Transitions to Visto

       14.     As part of initial realignment efforts to respond to this downturn in its traditional

business and rebrand as a software-as-a-service (SaaS) provider, Collective began to heavily

invest in the technology side of its business. Throughout 2016 and 2017, Collective engaged in

an internal business restructuring whereby the historic managed services business pertaining to

advertising agencies was transferred to a newly-created, wholly-owned subsidiary named

Compass IQ, Inc. (“Compass”). The SaaS business remained with Collective and was rebranded

as “Visto”.

       15.     In contrast with its legacy managed service business, which relied on Collective

employees to purchase and place advertising, Visto would emphasize the provision of software

services through a single, digital ad buying software platform that would allow clients to place

advertising themselves. The Visto software platform combines in one interface the ability to

push out advertising to a variety of platforms and to pull in data for centralized analytics and

would capitalize on the trend of more enterprises—agencies, media companies and brand

marketers considering bringing these buying capabilities in house and requiring a technology

platform like Visto to do so.

C.     Collective Seeks Sources of Funding

       16.     In early 2016, Collective began seeking additional sources of funding to meet its

capital needs. In February-April 2016, Collective raised $8 million in the form of convertible

notes (the “Bridge Notes”). Concurrently, Collective continued to seek alternative capital
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sources and explore strategic alternatives through a potential sale of all or a portion of its

business.

         17.      In June 2016, Collective refinanced its then-outstanding secured credit facility

with Comerica Bank through a $26 million credit facility (the “Credit Facility”) with

Collective’s current secured lender, National Electrical Benefit Fund (“NEBF”). 2 Of the original

$26 million principal amount under the Credit Facility, $20 million was intended for long-term

capital needs and was to mature on June 9, 2020. The remaining $6 million was intended as a

short-term bridge facility to be repaid upon the consummation of a then-in-process sale of certain

of Collective’s United Kingdom-based media business (the “UK Sale”)

         18.      In July 2016, Collective consummated the UK Sale with Time, Inc. However, as

Collective’s legacy managed services business continued deteriorating, Collective defaulted

under the Credit Facility by failing to repay the $6 million then due. NEBF and Collective

entered into a series of forbearance arrangements with respect to Collective’s obligations under

the Credit Facility, and Collective obtained extensions of its repayment obligations under other

debt obligations, including the Samsung Note.

         19.      During 2017, Collective continued seeking alternative sources of capital and

exploring strategic alternatives. To allow Collective to meet its short-term liquidity needs, on

November 3, 2017, NEBF extended an additional $1 million to be due on November 30, 2017

and agreed to further forbear from exercising remedies, and extend the maturity of certain

obligations, under the Credit Facility. 3


2
  NEBF and RCP Advisors 2, LLC, as successor-in-interest to Columbia Partners, L.L.C. Investment Management
(“RCP”), in their respective capacities as lender and agent under the Credit Facility, are referred to as the
“Prepetition Secured Parties,” and in their capacities as lender and investment manager under the DIP Facility as the
“Postpetition Secured Parties.”
3
         In December 2017, to further enhance its ability to meet its short-term liquidity needs, Collective entered
into an accounts receivable factoring agreement with Fast Pay Partners LLC. All obligations under that arrangement
were satisfied in full in January 2018.

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        20.      On December 31, 2017, in an effort to raise capital to facilitate the development

of its Visto software platform business, Collective consummated the sale of its Compass

managed services business relating to advertising agencies (the “Compass Sale”) through an

asset sale to Zeta. The consideration paid by Zeta consisted of (a) preferred and common stock

of Zeta, valued at $25.3 million in the aggregate, 4 and (b) the potential for contingent earnout

payments of up to $9 million to Collective, payable based on Compass’s post-closing

performance. 5 As part of the Compass Sale, Collective also entered into a Master Services

Agreement with Zeta, pursuant to which Zeta agreed to annual spend of $1.5 million per year for

the 3 years following the closing of the Compass Sale (for a total of $4.5 million).

        21.      In lieu of payment to Collective, the stock consideration was paid directly to

NEBF as a pay down under the Credit Agreement, in the amount of $21.6 million.

        22.      On January 3, 2018, Collective received $5 million in cash through the sale of

Series D Preferred Stock to Zeta and concurrent therewith converted all outstanding obligations

under the Bridge Notes to Series D-1 Preferred Stock. Zeta presently holds approximately 46%

of Collective’s Series D Preferred Stock.

        23.      As 2018 unfolded, Collective’s sales pipeline did not materialize as quickly as

forecasted, creating continued cash burn. In order to provide Collective time to stabilize its

financial condition, in June 2018, NEBF extended an additional $3.5 million, agreed to convert

all outstanding obligations to “on demand” maturity, and agreed to continue to forbear from

exercising remedies under the Credit Facility.



4
         A portion of the secured stock compensation in the aggregate deemed amount of $3.4 million was held
back by Zeta as security for certain indemnity obligations by Collective. NEBF agreed, upon the expiration of the
holdback period, to accept any shares released and to apply such amounts to the outstanding obligations under the
Credit Facility at a deemed share value.
5
         At the Closing of the Compass Sale, Zeta made a prepayment of $1.5 million for contingent earnout
amounts due in the second and third quarters of 2018.

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        24.     On August 13, 2018, Samsung converted the Samsung Note in exchange for

shares of Series D Preferred Stock, thereby retiring approximately $8,183,541 in principal and

accrued interest, and leaving the Credit Facility as the only remaining funded debt.

        25.     On September 13, 2018, NEBF and Collective entered into a Forbearance

Agreement, pursuant to which NEBF and RCP agreed to continue to forbear from exercising

remedies under the Credit Facility through October 31, 2018 based on the defaults existing under

the Credit Facility at the time.

        26.     On November 9, 2018, NEBF extended an additional $600,000 to allow the

Debtors to finalize preparations for these chapter 11 cases and pursue a sale to the Stalking Horse

Bidder or any other bidder that submits a higher or otherwise better offer for the Debtors’ assets

through the auction and sale process contemplated by the Sale Motion.

D.      Collective Attempts to Sell Its Business

        27.     Throughout 2018 and until the Petition Date, Collective continued to seek

additional capital and explore strategic opportunities. Collective’s investment banker Oaklins

DeSilva & Phillips LLC assisted in these efforts, including by contacting approximately 70

potential acquirers. 15 potentially interested parties executed non-disclosure agreements as part

of the diligence process and received a Confidential Information Memorandum. As a result of

these marketing efforts, Collective received three non-binding indications of interest.

Nevertheless, as of late October 2018, Collective had received no written offers for the

acquisition of all or a portion of its business at a price that would satisfy its secured creditor’s

claims in full or provide a meaningful benefit to the Debtors.

        28.     With its remaining cash (the collateral of its secured creditor) continuing to

diminish as cash burn exceeded revenue, the board of directors of Collective, Inc. (the “Board”)



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took into consideration Collective’s financial situation and—after considering advice from its

financial and legal advisors—concluded that, while a sale of the Debtors’ assets was in the best

interests of all relevant parties, a sale as part of a bankruptcy proceeding would be the most

likely to procure the highest and best price for the Debtors’ assets. Accordingly, on October 5,

2018, the Board authorized Collective, and its subsidiary CME Co-Op, LLC, to begin

preparations to file voluntary petitions in bankruptcy and pursue a “naked” auction and sale

process for their assets. NEBF and RCP supported that path forward.

E.     The Stalking Horse Bid

       29.     On October 30, 2018, Zeta submitted a formal letter of intent for the purchase of

substantially all of the Debtors’ assets. Following significant negotiations with Zeta, and in the

absence of any competing bids, Collective and its Board concluded that they had received the

best possible bid for a sale of its assets as a going concern that would maximize value for all of

the Debtors’ stakeholders, and Collective executed the letter of intent on November 2, 2018.

Following further negotiations, Collective decided to proceed with Zeta’s bid, as reflected in the

Stalking Horse APA, as the Stalking Horse Bid.

       30.     The Stalking Horse APA represents a binding bid for substantially all of the

Debtors’ assets. The total value consideration to be received by the Debtors, which consists of

1,150,307 shares of Series F-2 Preferred Stock of Zeta, is estimated at $15 million based in part

on the value that the Debtors believe NEBF would attribute to the equity in light of the previous

recent transaction between Zeta and Collective where equity was the consideration, and in which

NEBF agreed to reduce Collective’s debt in exchange for the equity at a deemed share value of

$13.04 per share. In the absence of any material changes in Zeta’s share value, which Collective

is not aware of, Collective believes the same deemed value of $13.04 per share can be ascribed



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to the consideration offered under the Stalking Horse APA. The consideration also includes the

assumption of certain liabilities and the payment of any cure costs associated with executory

contracts and unexpired leases to be assumed and assigned to the Stalking Horse Bidder.

       31.     The Stalking Horse Bid constitutes the best offer available for the Debtors’ assets

at this time. I believe that subjecting the Stalking Horse bid to the competitive bidding and

auction process established by the Sale Motion will enable the Debtors to realize the highest and

best value available for their assets. The procedures described in the Sale Motion are also

flexible enough to allow bidders the opportunity to bid for assets that are not included in the

Stalking Horse Bid, including certain assets related to Collective’s legacy managed services

business, certain contracts, and equity in the Debtors’ foreign subsidiaries.

       32.     The Bidding Procedures and the Stalking Horse APA contain certain bid

protections, including the Breakup Fee and the Expense Reimbursement (as defined in the

Stalking Horse APA). These protections were heavily negotiated by the Stalking Horse Bidder

and the Debtors and their respective advisors at arms’ length and in good faith and were

necessary to obtain the Stalking Horse Bidder’s commitment to purchase the Debtors’ assets. I

believe that the bid protections are fair and reasonable, will not chill bidding, and will enable the

Debtors to maximize value through a sale process.

       33.     Given the Debtors’ financial condition and declining cash position, a prompt sale

is necessary to realize the maximum value of the Debtors’ asset for the benefit of all

stakeholders. In addition, the Stalking Horse APA and the DIP Facility contain milestones




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related to the auction and sale process. Accordingly, Collective believes that the proposed

timeline in the Bidding Procedures is in the bests interests of the Debtors’ estates.

A.       Collective’s Current Business

         34.      The Board believes in its prudent business judgment that a sale to the Stalking

Horse Bidder or other bidder that submits a higher or otherwise better offer as part of an orderly

bankruptcy process is the best way to maximize the value of Collective’s assets.

         35.      Through its proprietary software platform (Visto Enterprise Ad Hub) Collective

offers individual brands, advertising agencies, and advertisers the ability to purchase and place

advertising, monitor advertising placement, and track return on advertising investment.

Collective presently has direct and indirect relationships with over 50 advertising vendors,

including companies like Amazon, Facebook, and Google, that allow customers enrolled in the

Visto platform to variously place, monitor and report on digital advertising.

         36.      Collective currently employs 25 employees, including 22 employees out of its

home office in New York City. In addition to its senior management, Collective’s employees

work primarily in sales, customer account management, and software engineering roles. The

linchpin of Collective’s business is its software and related intellectual property portfolio. To

maintain the operation of its software platform and provide support to its customers, Collective

contracts with its indirect nondebtor subsidiary in India, Collective (India) Private Limited

(“Collective India”), which employs engineers and technical personnel to provide technical

support and maintenance for Collective’s advertising platform. 6 As described above, Collective




6
 Before the Petition Date, with the consent of its secured creditor, Collective paid Collective India sufficient
amounts to ensure that it will be able to continue providing services to Collective—to maintain the value of the
Debtors’ assets—through the duration of the sale process.

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also continues to operate a managed services business with respect to publishing and media

clients.

           37.    For the 12 months ended December 2017, the unaudited financial statements of

the Debtors reflected total revenues of approximately $8,472,000 and a net loss of approximately

$15,734,000. 7 As of September 30, 2018, Collective reported total assets of approximately

$39.9 million and total liabilities of approximately $23 million.

                                   Corporate and Capital Structure

A.         Corporate Structure

           38.   The Debtors are privately-held companies and do not have any publicly-traded

equity. A number of entities hold 10% or more of the various classes of Collective’s preferred

and common equity. 8 Collective is the sole member of CME Co-Op, LLC, which is an entity

formed to hold a portion of the equity in Collective Europe Holding Coöperatief U.A., a Dutch

holding company (the “Collective Europe Holding”). The Debtors, collectively, own 100% of

the equity in Collective Europe Holding, which in turn owns 100% of the equity in Collective

India. 9 Neither Collective Europe Holding nor Collective India is a debtor in these chapter 11

cases nor has any substantial assets. An organizational chart illustrating the corporate structure

of the Debtors and their non-debtor foreign subsidiaries is attached as Exhibit A to the Debtors’

Consolidated Corporate Ownership Statement.




7
  These revenue and loss figures are adjusted to account for the Compass Sale.
8
  See Debtors’ Consolidated Corporate Ownership Statement Pursuant to Fed. R. Bankr. P. 1007(a)(1) and 7007.7
and Local Bankruptcy Rule 1007-3, filed contemporaneously herewith.
9
  Collective directly owns .000667% of the equity in Collective India.

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B.     Capital Structure

       39.     As of the Petition Date, the outstanding obligations under the Credit Facility equal

$17,285,686.79. Collective’s obligations under the Credit Facility are guaranteed by CME Co-

Op, LLC, pursuant to that certain Unconditional Guaranty dated as of June 9, 2016.

       40.     Pursuant to security agreements dated as of June 9, 2016 with each of Collective

and CME Co-Op, LLC (together with all related documents, the “Security Documents”), the

Debtors’ obligations under the Credit Facility are secured by properly perfected first-priority

liens on all of the Debtors’ assets (with certain specified exceptions) as described in the Security

Documents.

                                        First-Day Motions

A.     First Day Motions Generally

       41.     It is critical that, upon the Debtors’ transition into chapter 11, sales and operations

continue in the ordinary course of business to preserve the value of the Debtors’ business and

allow for the implementation of the sale process with respect to the Debtors’ assets.

Accordingly, the Debtors have filed a number of First Day Motions designed to facilitate their

transition into these chapter 11 cases. The Debtors anticipate that the Court will conduct a

hearing soon after the Petition Date at which many of the First Day Motions will be considered.

The First Day Motions include:

       A.      Joint Administration Motion – Debtors’ Motion Pursuant to Fed. R. Bankr. P.
               1015(b) for Entry of an Order (i) Directing Joint Administration of Chapter 11
               Cases, and (ii) Granting Related Relief

       B.      Creditor List Motion – Debtors’ Motion for Entry of an Order (i) Authorizing
               Debtors to File Consolidated List of 30 Largest Unsecured Creditors; (ii) Waiving
               the Matrix Requirements; (iii) Authorizing Debtors to Establish Procedures for
               Notifying Creditors of Commencement of Cases; (iv) Establishing Requirements
               for Filing and Serving Notices, Motions and Other Papers Filed in These Chapter
               11 Cases; and (v) Granting Related Relief


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       C.      Motion to Extend Time – Debtors’ Motion for Order Pursuant to 11 U.S.C. §
               105 and Fed. R. Bankr. P. 1007(c) and 9006(b), Extending Time for Debtors to
               File Certain Schedules, Lists, and Financial Statements

       D.      Noticing Agent Retention – Application of Debtors (i) for an Order Appointing
               Epiq Corporate Restructuring, LLC as Noticing Agent for the Debtors and (ii) for
               an Order Authorizing Debtors to Retain and Employ Epiq Corporate
               Restructuring, LLC as Administrative Agent, Effective as of the Petition Date

       E.      Cash Management Motion – Debtors’ Motion for Entry of an Order Authorizing
               Debtors to Continue Using Existing Cash Management System, Bank Accounts
               and Business Forms and to Implement Ordinary Course Changes to Cash
               Management System and Granting Related Relief

       F.      Wage Motion – Debtors’ Motion Pursuant to 11 U.S.C. §§ 105(a), 363, and
               507(a) for Entry of an Order Authorizing the Debtors to Make Payments
               Associated with Prepetition Wages, Employee Benefit Plans, Insurance, Savings
               Plans, and Other Employee Obligations

       G.      DIP Financing Motion – Motion for Entry of Interim and Final Orders Pursuant
               to 11 U.S.C. §§ 105, 361, 362, 363, 364, 507, and 552, Bankruptcy Rules 2002,
               4001, and 9014, and Local Rules 4001-1 and 4001-2 (i) Authorizing Debtors to
               Obtain Postpetition Financing, (ii) Authorizing Debtors to Use Cash Collateral,
               (iii) Granting Adequate Protection, (iv) Scheduling a Final Hearing, and (v)
               Granting Related Relief

       H.      Motion to Shorten Time – Motion of Debtors Pursuant to Fed. R. Bankr. P.
               9006(c) for Order Shortening Notice with Respect to Debtors’ Motion, Pursuant
               to 11 U.S.C. §§ 105, 363, and 365 and Fed. R. Bankr. P. 2002, 6004, and 6006,
               for Approval of (I) (A) Bidding Procedures, (B) Stalking Horse Asset Purchase
               Agreement and Bid Protections, (C) Form and Manner of Notice of Auction, Sale
               Transaction, and Sale Hearing, and (D) Assumption and Assignment Procedures;
               and (II) (A) Purchase Agreement, (B) Sale of Substantially all of Debtors’ Assets
               Free and Clear of Liens, Claims, Interests, and Encumbrances, and (C)
               Assumption and Assignment of Certain Executory Contracts and Unexpired
               Leases

       42.     The First Day Motions seek authority to, among other matters, obtain postpetition

financing, continue using cash collateral, honor employee-related wages and benefits obligations,

and ensure the continuation of the Debtors’ cash management systems and other business

operations without interruption. I believe that the relief requested in the First Day Motions is




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necessary to give the Debtors an opportunity to work towards successful chapter 11 cases and

implement a sale process that will benefit the Debtors’ estates.

       43.      Some of these First Day Motions request authority to pay certain prepetition

claims. I understand that Rule 6003 of the Federal Rules of Bankruptcy Procedure provides, in

relevant part, that the Court shall not consider motions to pay prepetition claims during the first

20 days following the filing of a chapter 11 petition, “except to the extent relief is necessary to

avoid immediate an irreparable harm.” In light of this requirement, the Debtors have narrowly

tailored their requests for immediate authority to pay certain prepetition claims to those

circumstances where the failure to pay such claims would cause immediate and irreparable harm

to the Debtors and their estates. Other relief will be deferred for consideration at a later hearing.

       44.      I am familiar with the content and substance of the First Day Motions. I adopt

and affirm the factual representations contained in each of the First Day Motions. I believe

approval of the relief sought in each of the motions is critical to successfully implementing the

Debtors’ chapter 11 strategy, including a going concern sale process, efficiently, and is in the

best interests of the Debtors’ estates and creditors and with minimal disruption to their business

operations, thereby permitting the Debtors to preserve and maximize value for the benefit of all

stakeholders.

C.     Motion for Authority to Obtain Postpetition Financing and Use Cash Collateral

       45.      Pursuant to the DIP Financing Motion, the Debtors request approval of and

authority to enter into the DIP Facility—a first-priority secured postpetition multiple-draw term

loan facility of up to $4 million with their prepetition secured lender, NEBF—and to use cash

collateral to fund their operations through the completion of the auction and sale process. The

proposed DIP Facility and consensual use of cash collateral represents a flexible, interim solution



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to the Debtors’ near-term liquidity needs. It preserves the status quo and provides the Debtors

with more than sufficient liquidity to fund their business and the to pursue and consummate a

successful asset sale. It was negotiated in good faith and at arms’ length.

        46.     The Debtors believe that the DIP Facility is the Debtors’ best postpetition

financing option available. The Debtors do not believe that any other lender would provide

financing to the Debtors at this stage, and would be unable to demonstrate that a priming DIP

loan made by a third party would satisfy the showings necessary under section 364 with respect

to the Credit Facility. The DIP Facility is a limited loan for a short duration (approximately eight

(8) weeks), intended to provide the Debtors with the minimal cash needed to proceed with the

auction and sale process. The lender under the DIP Facility, NEBF, because it is also the

prepetition secured lender, has a unique interest in allowing the Debtors to operate through this

process. It is also unlikely that any other lender would agree, as NEBF has, to accept repayment

of the DIP Facility (and the Credit Facility) in the form of the stock consideration being offered

by the Stalking Horse Bidder. Finally, NEBF has made clear that it will not agree to be primed

by any third-party lender, and the Debtors do not have the cash resources to sustain a “priming

litigation” in court.

        47.     The Debtors’ ability to access and use cash is essential to ensuring continued

operations during these chapter 11 cases. Absent access to the DIP Facility and the use of cash

collateral, the Debtors will not have adequate unencumbered cash on hand to pay critical

expenses. Ensuring the Debtors have sufficient working capital will allow the Debtors to

preserve and maintain the going concern value of the business, thus enhancing the prospects for a

successful sale process. Accordingly, the relief requested in the DIP Financing Motion is




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intended to prevent any disruption or damage to the Debtors and their estates, while providing

adequate protection and security to NEBF in its capacities as prepetition and postpetition lender.

                   Information Required by Local Bankruptcy Rule 1007-2

        48.    In accordance with Local Bankruptcy Rule 1007-2, the schedules submitted

herewith provide certain information related to the Debtors:

        49.    Pursuant to Local Bankruptcy Rule 1007-2(a)(3), Schedule 1 hereto lists the

names and addresses of the members of, and attorneys for, any committee organized prior to the

Petition Date and a brief description of the circumstances surrounding the formation of the

committee and the date of its formation.

        50.    Pursuant to Local Bankruptcy Rule 1007-2(a)(4), Schedule 2 hereto lists the

holders of the Debtors’ 30 largest unsecured claims on a consolidated basis, excluding claims of

insiders.

        51.    Pursuant to Local Bankruptcy Rule 1007-2(a)(5), Schedule 3 hereto lists the

holders of the largest secured claims against the Debtors on a consolidated basis.

        52.    Pursuant to Local Bankruptcy Rule 1007-2(a)(6), Schedule 4 hereto provides a

summary of the (unaudited) consolidated assets and liabilities for the Debtors.

        53.    Pursuant to Local Bankruptcy Rule 1007-2(a)(7), Schedule 5 hereto provides the

following information: the number and classes of shares of stock, debentures, and other

securities of the Debtors that are publicly held and the number of record holders thereof; and the

number and classes of shares of stock, debentures, and other securities of the Debtors that are

held by the Debtors’ directors and officers, and the amounts so held.

        54.    Pursuant to Local Bankruptcy Rule 1007-2(a)(8), Schedule 6 hereto provides a

list of all of the Debtors’ property in the possession or custody of any custodian, public officer,

mortgagee, pledgee, assignee of rents, secured creditor, or agent for any such entity, giving the
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name, address, and telephone number of each such entity and the location of the court in which

any proceeding relating thereto is pending.

          55.    Pursuant to Local Bankruptcy Rule 1007-2(a)(9), Schedule 7 hereto provides a

list of the premises owned, leased, or held under other arrangement from which the Debtors

operate their business.

          56.    Pursuant to Local Bankruptcy Rule 1007-2(a)(10), Schedule 8 hereto provides the

location of the Debtors’ substantial assets, the location of their books and records, and the nature,

location, and value of any assets held by the Debtors outside the territorial limits of the United

States.

          57.    Pursuant to Local Bankruptcy Rule 1007-2(a)(11), Schedule 9 hereto provides a

list of the nature and present status of each action or proceeding, pending or threatened, against

the Debtors or their property where a judgment against the Debtors or a seizure of their property

may be imminent. 10

          58.    Pursuant to Local Bankruptcy Rule 1007-2(a)(12), Schedule 10 hereto provides a

list of the names of the individuals who comprise the Debtors’ existing senior management, their

tenure with the Debtors, and a brief summary of their relevant responsibilities and experience.

          59.    Pursuant to Local Bankruptcy Rule 1007-2(b)(1)-(2)(A), Schedule 11 hereto

provides the estimated amount of weekly payroll to the Debtors’ employees (not including

officers, directors, stockholders, and partners) and the estimated amount to be paid to officers,

stockholders, directors, members of any partnerships, and financial and business consultants




10
   Collective received a grand jury subpoena for documents from the U.S. Attorney’s Office in the Southern District
of New York and has cooperated and produced responsive documents. Collective believes the investigation relates
to a report issued by the Association of National Advertisers in 2016 concerning media-buying practices in the
advertising industry.

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retained by the Debtors for the 30-day period following the filing of these chapter 11 cases as the

Debtors intend to continue to operate their business.

       60.     Pursuant to Local Bankruptcy Rule 1007-2(b)(3), Schedule 12 hereto provides,

for the 30-day period following the filing of these chapter 11 cases, a list of estimated cash

receipts and disbursements, net cash gain or loss, obligations, and receivables expected to accrue

that remain unpaid, other than professional fees.




                           [Remainder of page intentionally left blank.]




                                                 20
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                                              Conclusion

       61. This Declaration illustrates the factors that have precipitated the commencement

of these chapter 11 cases and the critical need for the Debtors to obtain the relief sought in the

First Day Motions and the Sale Motion.

       I declare under penalty of perjury that, to the best of my knowledge and after reasonable

inquiry, the foregoing is true and correct.



Dated: November 19, 2018
       New York, New York                      ;sA,J:j,,Vv!J �4,A1cic,
                                               Kerry Bianchi
                                               President and Chief Executive Officer
                                               Collective, Inc.




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WILMER CUTLER PICKERING
 HALE AND DORR LLP
Andrew N. Goldman
Nancy L. Manzer
Benjamin W. Loveland (pro hac vice pending)
Christopher D. Hampson (pro hac vice pending)
7 World Trade Center
250 Greenwich Street
New York, New York 10007
Telephone:    (212) 230-8800
Facsimile:    (212) 230-8888

Proposed Counsel to the Debtors
and Debtors in Possession


UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK

                                                         )
    In re:                                               )    Chapter 11
                                                         )
    COLLECTIVE, INC., et al.,                            )    Case No. 18-_____ (___)
                                                         )
                                    Debtors. 1           )    (Joint Administration Requested)
                                                         )
                                                         )

                   SCHEDULES TO DECLARATION OF KERRY BIANCHI
                    PURSUANT TO LOCAL BANKRUPTCY RULE 1007-2




1
          The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax
identification number, include: Collective, Inc. (2024) and CME Co-Op, LLC (N/A). The location of the Debtors’
corporate headquarters and the Debtors’ service address is: 72 Madison Ave, 3rd Floor, New York, NY 10016.
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                                          Schedule 1

                                          Committees

       Pursuant to Local Bankruptcy Rule 1007-2(a)(3), to the best of the Debtors’ knowledge
and belief, no committee has been organized prior to the Commencement Date.
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                                                                            Schedule 2

                                   Consolidated List of 30 Largest Unsecured Claims (Excluding Insiders) 2

    No.                Creditor                 Complete mailing address,                              Nature of            Amount of              Contingent,
                                                telephone number, e-mail address,                       claim                claim                Unliquidated,
                                                and name of employee, agent, or                                                                    Disputed, or
                                                department of creditor familiar                                                                  Partially Secured
                                                with claim who may be contacted
     1     JENJO LLC                            5 GREAT JONES STREET #2                                  Trade                   $2,091,908          Contingent,
                                                NEW YORK, NY 10012                                   Debt/Litigation                               Unliquidated, and
                                                                                                                                                       Disputed
                                                Telephone: (617) 270-8555
                                                E-mail: info@jenjo.com
                                                Contact: Legal/General Counsel
     2     BRANDED                              15250 VENTURA BLVD., STE. 300                          Trade Debt                  $322,817            Disputed
           ENTERTAINMENT                        SHERMAN OAKS, CA 91403
           NETWORK
                                                Telephone: (310) 342-1500
                                                Contact: Ricky Ray Butler, CEO


     3     99 PARK AVENUE                       410 PARK AVENUE, 20TH FLOOR                                Rent                    $127,557
           ASSOCIATES, L.P.                     NEW YORK, NY 10022

                                                Telephone: (212) 661-3495
                                                Contact: Accounts Receivable




2
          The information herein shall not constitute an admission of liability by, nor is it binding on, the Debtors. All claims are subject to customary offsets,
rebates, discounts, reconciliations, credits, and adjustments, which are not reflected on this Schedule.
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No.          Creditor           Complete mailing address,                     Nature of       Amount of        Contingent,
                                telephone number, e-mail address,              claim           claim          Unliquidated,
                                and name of employee, agent, or                                                Disputed, or
                                department of creditor familiar                                              Partially Secured
                                with claim who may be contacted
 4    ZETAXCHANGE               185 MADISON AVE., 5 FL                        Trade Debt          $115,822
                                NEW YORK, NY 10016

                                Telephone: 212-660-2500
                                E-mail: info@zetaglobal.com
                                Contact: David A. Steinberg, CEO
 5    APPNEXUS INC.             DEPT CH 19467                                 Trade Debt          $102,217
                                PALATINE, IL 60055-9467

                                Telephone: (646) 604-2406
                                Contact: Michael Rubenstein, President


 6    ORION WORLDWIDE, LLC      622 THIRD AVENUE                              Trade Debt           $93,626
                                NEW YORK, NY 10017

                                Telephone: (212) 551-4017
                                E-mail: jason.chung@orionworldwide.com
                                Contact: Jason Chung, Sr. Financial Analyst
 7    MIGHTYHIVE INC.           394 PACIFIC AVE., FL. 5                       Trade Debt           $78,492
                                SAN FRANCISCO, CA 94111

                                Telephone: (888) 727-9742
                                E-mail: questions@mightyhive.com
                                Contact: Peter Kim, CEO
 8    DELOITTE & TOUCHE LLP     PO BOX 844708                                 Trade Debt           $75,000
                                DALLAS, TX 75284-4708

                                Telephone: (214) 840-7000
                                Contact: Accounts Receivable
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No.          Creditor         Complete mailing address,                    Nature of       Amount of        Contingent,
                              telephone number, e-mail address,             claim           claim          Unliquidated,
                              and name of employee, agent, or                                               Disputed, or
                              department of creditor familiar                                             Partially Secured
                              with claim who may be contacted
 9    CLOUDERA, INC.          395 PAGE MILL ROAD                           Trade Debt           $70,000
                              PALO ALTO, CA 94306

                              Telephone: (650) 362-0488
                              E-mail: john.endo@cloudera.com
                              Contact: John Endo, Sr. AR Accountant
10    MOAT INC                222 S ALBANY ST #2                           Trade Debt           $56,375
                              ITHACA, NY 14850

                              Telephone: (910) 454-0780
                              Contact: Jonah Goodhard, CEO


11    INTERNAP NETWORK        DEPT 0526                                    Trade Debt           $30,441
      SERVICES                P.O. BOX 120526
                              DALLAS, TX 75312-0526

                              Telephone: (404) 681-7640
                              E-mail: billing@inap.com
                              Contact: Peter D. Aquino, CEO
12    DOUBLE VERIFY, INC      575 8TH AVENUE, 8TH FLOOR                    Trade Debt           $28,652        Disputed
                              NEW YORK, NY 10018

                              Telephone: (212) 631-2150
                              E-mail: info@doubleverify.com
                              Contact: Wayne Gattinella, President & CEO
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No.          Creditor         Complete mailing address,                      Nature of       Amount of        Contingent,
                              telephone number, e-mail address,               claim           claim          Unliquidated,
                              and name of employee, agent, or                                                 Disputed, or
                              department of creditor familiar                                               Partially Secured
                              with claim who may be contacted
13    GRAPESHOT LTD           9 DUKES COURT                                  Trade Debt           $28,011
                              54-62 NEWMARKET ROAD
                              CAMBRIDGE, CB5 8DZ
                              UNITED KINGDOM

                              Telephone: (440) 122-3790 Ext. 6600
                              E-mail: thedatahotline@oracle.com
                              Contact: Kurt Kratchman, COO
14    PROHASKA CONSULTING     99 MADISON AVENUE, 5TH FLOOR                   Trade Debt           $25,400
      LLC                     NEW YORK, NY 10016

                              Telephone: (917) 597-6568
                              E-mail: matt@prohaskaconsulting.com
                              Contact: Matt Prohaska, Principal & CEO
15    BEESWAX.IO              572 GRAND STREET #G1301                        Trade Debt           $24,786
      CORPORATION             NEW YORK, NY 10002

                              Telephone: (917) 576-1488
                              E-mail: ramr@beeswax.io
                              Contact: Accounts Receivable
16    TARLOW & CO. CPA'S      7 PENN PLAZA, STE 210                          Trade Debt           $23,242
                              NEW YORK, NY 10001

                              Telephone: (212) 697-8540
                              E-mail: info@tarlow.com
                              Contact: Alexander Charitos, Accounting Dir.
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No.             Creditor         Complete mailing address,                 Nature of        Amount of        Contingent,
                                 telephone number, e-mail address,          claim            claim          Unliquidated,
                                 and name of employee, agent, or                                             Disputed, or
                                 department of creditor familiar                                           Partially Secured
                                 with claim who may be contacted
17    SILLS CUMMIS & GROSS       ONE RIVERFRONT PLAZA                       Trade Debt           $21,696
      P.C.                       NEWARK, NJ 07102

                                 Telephone: (973) 643-7000
                                 E-mail: sillsmail@sillscummis.com
                                 Contact: Accounts Receivable
18    ZAPP360                    135 MADISON, 8TH FLOOR                     Trade Debt           $19,050
                                 NEW YORK, NY 10016

                                 Telephone: (646) 657-9060
                                 E-mail: first@zapp360.com
                                 Contact: Rosie O’Meara, CEO
19    DSTILLERY INC              470 PARK AVE S.                            Trade Debt           $18,745
                                 NEW YORK, NY 10016

                                 Telephone: (646) 278-4929
                                 E-mail: contact@distillery.com
                                 Contact: Michael Beebe, CEO
20    REIGER CONSULTING          225 WEST WAYNE AVE.                        Trade Debt           $18,600
                                 WAYNE, PA 19087

                                 Telephone: (214) 676-9804
                                 E-mail: services@reigerconsulting.com
                                 Contact: Accounts Receivable
21    COMERICA CREDIT CARD       DEPARTMENT #166901                         Trade Debt           $16,295
                                 PO BOX 55000
                                 DETROIT, MI 48255

                                 Telephone: (214) 462-4000
                                 Contact: Accounts Receivable
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No.             Creditor         Complete mailing address,                Nature of        Amount of        Contingent,
                                 telephone number, e-mail address,         claim            claim          Unliquidated,
                                 and name of employee, agent, or                                            Disputed, or
                                 department of creditor familiar                                          Partially Secured
                                 with claim who may be contacted
22    GARTNER INC                P.O. BOX 911319                           Trade Debt           $15,896
                                 DALLAS, TX 75391-1319

                                 Telephone: (203) 964-0096
                                 E-mail: inquiry@gartner.com
                                 Contact: Eugene A. Hall, CEO
23    CLARITY                    110 GREENE STREET, SUITE 303              Trade Debt           $15,088
                                 NEW YORK, NY 10012

                                 Telephone: (646) 934-6924
                                 Contact: Accounts Receivable


24    NSONE INC                  225 BROADWAY, SUITE 2901                  Trade Debt           $14,000
                                 NEW YORK, NY 10007

                                 Telephone: (347) 560-8666
                                 E-mail: nj@ns1.com
                                 Contact: Kris Beevers, CEO
25    LINKEDIN CORPORATION       62228 COLLECTIONS CENTER DRIVE            Trade Debt           $11,862
                                 CHICAGO, IL 60693-0622

                                 Contact: Accounts Receivable
26    RAMDASS                    3688 13TH D MAIN 9TH CROSS                Trade Debt           $10,620
      KESHAVAMURTHY              HAL II STAGE
                                 BANGALORE, INDIA

                                 Contact: Accounts Receivable
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No.           Creditor         Complete mailing address,                Nature of        Amount of        Contingent,
                               telephone number, e-mail address,         claim            claim          Unliquidated,
                               and name of employee, agent, or                                            Disputed, or
                               department of creditor familiar                                          Partially Secured
                               with claim who may be contacted
27    FRAGOMEN, DEL REY,       75 REMITTANCE DRIVE, SUITE 6072           Trade Debt           $10,554
      BERNSEN & LOEWY, LLP     CHICAGO, IL 60675-6072

                               Telephone: (602) 266-1825
                               E-mail: phoenixinfo@fragomen.com
                               Contact: Accounts Receivable
28    HEWLETT PACKARD          PO BOX 101032                             Trade Debt           $10,500
      ENTERPRISE COMPANY       ATLANTA GA 30932

                               Telephone: (650) 687-5817
                               Contact: Accounts Receivable


29    NEUSTAR INC.             P.O. BOX 742000                           Trade Debt           $10,500
                               ATLANTA, GA 30374

                               Telephone: (571) 434-5400
                               E-mail: billingsupport@team.newstar
                               Contact: Kevin Hughes, SVP & General
                                        Counsel
30    AD-JUSTER, INC.          13280 EVENING CREEK DR. S, SUITE 100      Trade Debt            $9,600
                               ATTN: ACCOUNTS RECEIVABLE
                               SAN DIEGO, CA 92128

                               Telephone: (858) 842-1386
                               Contact: Dennis Clarke, CEO
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                                            Schedule 3

                Consolidated List of Holders of Five Largest Secured Claims

         Pursuant to Local Bankruptcy Rule 1007-2(a)(5), to the best of the Debtors’ knowledge,
belief, and understanding, the following chart lists the creditors holding, as of the
Commencement Date, the five largest secured claims against the Debtors, on a consolidated
basis, excluding claims of insiders (as defined in 11 U.S.C. § 101).



 No.   Creditor           Contact, Mailing               Amount of       Collateral Description
                          Address, Telephone             Claim           and Value
                          Number/Fax Number,
                          Email
 1.    RCP Advisors       5425 Wisconsin Avenue,         $17,285,686.79 Description: All assets of
       2, LLC             Suite 700                                     the Debtors
                          Chevy Chase, MD 20815
                                                                         Collateral Value:
                                                                         Uncertain


 2.    Data Sales         3450 West Burnsville           contingent      Description: Equipment
       Co., Inc.          Parkway                                        leases
                          Burnsville, MN 55337
                                                                         Collateral Value:
                          Telephone: (952) 890-8838                      Uncertain
                          Contact: Paul C. Breckner,
                          CEO and President

 3.    Comerica           333 W. Santa Clara St.         contingent      Description: cash
       Bank               12th Floor                                     collateral for a letter of
                          San Jose, CA 95113                             credit given to 99 Park
                          M/C 4811                                       Avenue Associates, L.P.

                          Telephone: (408) 962-5000                      Collateral Value:
                          Contact: Alejandro Lee,                        $699,000
                          Manager
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                                                       Schedule 4

        Condensed Consolidated Balance Sheet (Unaudited) as of September 30, 2018

     COLLECTIVE, INC. 

     CONSOLIDATED BALANCE SHEET
     (In thousands, except share and per share data)
                                                                                           Se pte mbe r 30, 2018
     ASSETS
     CURRENT ASSET S:
      CASH AND CASH EQUIVALENT S                                                           $             3,213
      ACCOUNT S RECEIVABLE — NET OF ALLOWANCE OF $43,713                                                  1,232
      PREPAID EXPENSES AND OT HER CURRENT ASSET S                                                        1,274
      DEFERRED T AX ASSET — CURRENT , NET                                                               10,579
           T OT AL CURRENT ASSET S                                                                      16,299
     REST RICT ED CASH                                                                                     787
     DEFERRED T AX ASSET — NON-CURRENT , NET                                                                95
     PROPERT Y AND EQUIPMENT — NET                                                                         286
     INT ANGIBLE ASSET S — NET
     CAPIT ALIZED SOFT WARE — NET                                                                        2,253
     GOODWILL                                                                                           11,285
     OT HER NON-CURRENT ASSET S                                                                          8,927

     T OT AL ASSET S                                                                       $            39,933
     LIABILITIES, CO NVERTIBLE PREFERRED STO CK AND STO CKHO LDERS’ EQ UITY
     CURRENT LIABILIT IES:
      ACCOUNT S PAYABLE                                                                    $             3,121
      ACCRUED AND OT HER CURRENT LIABILIT IES                                                            4,522
      DEFERRED REVENUE                                                                                   1,083
      CAPIT AL LEASE OBLIGAT ION — CURRENT                                                                  (0)
      CURRENT PORT ION OF LONG-T ERM DEBT                                                                   (0)
      CONVERT IBLE NOT E
           T OT AL CURRENT LIABILIT IES                                                                  8,727
     DEFERRED T AX LIABILIT IES — NON-CURRENT                                                             (38)
     CAPIT AL LEASE OBLIGAT ION — NON-CURRENT
     LONG-T ERM DEBT — NET OF CURRENT PORT ION                                                          12,942
     OT HER LONG-T ERM LIABILIT IES                                                                      1,330
     NON-CURRENT LIABILIT IES FROM DISCONT INUED OPERAT IONS
           T OT AL LIABILIT IES                                                            $            22,960
     COMMIT MENT S AND CONT INGENCIES
     CONVERT IBLE PREFERRED ST OCK:
      SERIES A, PAR VALUE $0.001 PER SHARE — AUT HORIZED, 4,117,870 SHARES;                              2,495
      SERIES B, PAR VALUE $0.001 PER SHARE — AUT HORIZED, 5,281,085 SHARES;                              2,881
      SERIES C, PAR VALUE $0.001 PER SHARE — AUT HORIZED, 1,674,529 SHARES;                               145
      SERIES D, PAR VALUE $0.001 PER SHARE — AUT HORIZED,           SHARES;                                 22

           T OT AL CONVERT IBLE PREFERRED ST OCK                                                         5,398

     ST OCKHOLDERS’ EQUIT Y:

      COMMON ST OCK, PAR VALUE $0.001 PER SHARE — AUT HORIZED, 32,000,000 SHARES;                           18
      ADDIT IONAL PAID-IN CAPIT AL                                                                      71,871
      COMMON ST OCK WARRANT S                                                                            2,355
      NOT E RECEIVABLE FROM ST OCKHOLDER                                                                  —
      RET AINED EARNINGS                                                                              (62,310)
      ACCUMULAT ED OT HER COMPREHENSIVE INCOME/(LOSS)                                                    (360)

           T OT AL ST OCKHOLDERS’ EQUIT Y                                                               11,574
     T OT AL LIABILIT IES, CONVERT IBLE PREFERRED ST OCK AND ST OCKHOLDERS’ EQUIT Y        $            39,933



* Subject to change. Includes certain items that remain under review and may be accounted for
differently in future reports
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                                          Schedule 5

                                   Publicly Held Securities

        Pursuant to Local Bankruptcy Rule 1007-2(a)(7), the Debtors do not have any publicly
traded shares of stock, debentures, or other securities.
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                                           Schedule 6

                      Debtors’ Property Not In the Debtors’ Possession

       Local Bankruptcy Rule 1007-2(a)(8) requires the Debtors to list property that is in the
possession or custody of any custodian, public officer, mortgagee, pledgee, assignee of rents,
secured creditor, or agent for any such entity.

       Such property includes without limitation the following:

       Name           Complete mailing address,            Description of        Court for any
                      telephone number, e-mail               Property         related proceeding
                      address, and name of contact


  Comerica Bank       333 W. Santa Clara St.               Cash collateral            N/A
                      12th Floor                             for letter of
                      San Jose, CA 95113, M/C 4811         credit to secure
                                                                lease
                      Telephone: (408) 962-5000              ($699,000)
                      Contact: Alejandro Lee, Manager

  Comerica Bank       333 W. Santa Clara St.               Security deposit           N/A
                      12th Floor                            for credit card
                      San Jose, CA 95113, M/C 4811            ($100,000)

                      Telephone: (408) 962-5000
                      Contact: Alejandro Lee, Manager

  Comerica Bank       333 W. Santa Clara St.                  Operating               N/A
                      12th Floor                              Account
                      San Jose, CA 95113, M/C 4811

                      Telephone: (408) 962-5000
                      Contact: Alejandro Lee, Manager

   Zeta Global        185 Madison Ave, 5th Floor           Holdback from              N/A
  Holdings Corp.      New York, NY 10016                   Compass asset
                                                           sale ($3.4mm)
                      Telephone: (212) 660-2500
                      E-mail: Svine@zetaglobal.com
                      Contact: Steven Vine, SVP and
                      General Counsel
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    American       1065 Avenue of the Americas        Scholarship          N/A
  Association of   16th Floor                            Fund
   Advertising     New York, NY 10018                 ($109,500)
    Agencies
                   Telephone: (212) 682-2500
                   Contact: Marla Kaplowitz,
                   President and CEO
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                                                    Schedule 7

        Pursuant to Local Bankruptcy Rule 1007-2(a)(9), the following lists the property or
premises owned, leased, or held under other arrangement from which the Debtors operate their
businesses. The Debtors do not own any of the property or premises from which they operate
their businesses.

                                                Leased Property 3

         Debtor                     Street Address                     City          State      Zip        Country
                                                                                               Code
    Collective, Inc.               72 Madison Ave,                 New York           NY       10016         USA
                                      3rd Floor




3
         The classification of the contractual agreements listed herein as real property leases or property held by
other arrangements is not binding upon the Debtors.
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                                            Schedule 8

                       Location of Debtors’ Assets, Books, and Records

       Pursuant to Local Bankruptcy Rule 1007-2(a)(10), the following lists the locations of the
Debtors’ substantial assets, the location of their books and records, and the nature, location, and
value of any assets held by the Debtors outside the territorial limits of the United States.



                            Location of Debtors’ Substantial Assets

        As of September 30, 2018, the Debtors had assets of approximately $39,933,000, as
provided in Schedule 4, with substantial assets located in the states of New York and New
Jersey.



                                       Books and Records

     The Debtors’ books and records are located at 72 Madison Ave., Third Floor, New York,
New York.



                           Debtors’ Assets Outside the United States

        Collective, Inc. and CME Co-Op, LLC together own Collective Europe Holding
Coöperatief, U.A., a cooperative organized under the laws of the Netherlands. Indirectly through
that entity (and also directly, in the case of Collective, Inc.) the Debtors also own Collective
(India) Pvt. Ltd., a limited company organized under the laws of India. Collective (India) Pvt.
Ltd. acts as a service center for the Debtors and owns some computer equipment. For more
information, please see the organizational chart attached to the Debtors’ corporate ownership
statement, filed with their voluntary petitions.
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                                           Schedule 9

                                           Litigation

         Pursuant to Local Bankruptcy Rule 1007-2(a)(11), to the best of the Debtors’ knowledge,
belief, and understanding, there are no actions or proceedings pending or threatened against the
Debtors or their property, as of the Commencement Date, where a judgment against the Debtors
or a seizure of their property may be imminent.
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                                             Schedule 10

                                       Senior Management

        Pursuant to Local Bankruptcy Rule 1007-2(a)(12), the following provides the names of
the individuals who comprise the Debtors’ existing senior management, a description of their
tenure with the Debtors, and a brief summary of their relevant responsibilities and experience.



 Name & Position            Responsibilities & Experience
 Joe Apprendi               Joe Apprendi founded Collective in 2007. As Executive Chairman, Joe is
                            responsible for casting high-level vision and setting the strategic direction of the
                            company. Joe is a recognized marketing thought leader with more than two
 Founder & Executive        decades’ experience as an entrepreneur and investor in digital marketing
 Chairman                   technology. Before founding Collective, Joe served as CEO of North America at
                            Falk eSolutions and as Executive Vice President of Eyeblaster (now Sizmek),
                            where he was responsible for sales and marketing worldwide for its rich media
                            ad management platform. Joe is a graduate of Oberlin College, where he
                            received his BA in Economics.
 Kerry Bianchi              Kerry Bianchi joined Collective in 2015 and held the roles of both Chief
                            Operating Officer and President. In 2017, she assumed the role of Chief
                            Executive Officer. As President and CEO, Kerry is responsible for driving
 President & CEO            strategic direction and business execution across the entire organization. She has
                            over 25 years of experience in media, advertising and consulting. Prior to
                            Collective, Kerry worked at E*Trade Financial overseeing the company’s paid
                            media, agencies, martech and analytics partners. She received her BA from
                            Claremont McKenna College.
 Michelle Nathan            Michelle Nathan joined Collective as Senior Vice President of Operations in
                            2010. After departing in 2014, she rejoined Collective in January 2017 as Chief
                            Financial Officer. As CFO, Michelle oversees the financial, legal, and facilities
 Chief Financial Officer    departments at Collective. As a 20+ year veteran of the finance and media
                            worlds, Michelle has served as Director of Finance at Blue Cross/Blue Shield;
                            Vice President of Business Planning at Cablevision; Corporate Director of the
                            Digital Business at Hachette Filipacchi Media; and Executive Director at The
                            NPD Group. Michelle holds an Executive MBA from Hofstra University, a
                            Bachelor of Science in Economics from Rider University, and has completed the
                            CTAM Executive Management Program at Harvard Business School.
 Jaisimha Muthegere         Jaisimha Muthegere joined Collective in June 2013. As Chief Technology
                            Officer, Jaisimha oversees the production and delivery of Collective’s online
                            platforms. Jaisimha has over 25+ years of engineering leadership experience in
 Chief Technology           directing, building, and delivering quality, scalable market-driven software
 Officer                    products. He has served as head of Engineering at Komli Media and Director of
                            Engineering at Yahoo!, where he was responsible for engineering for emerging
                            markets and India-facing products. Jaisimha holds an M.S. in Computer Science
                            from Iowa State University and a Bachelor of Engineering in Computer Science
                            from the University of Mysore.
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                                           Schedule 11

                                             Payroll

        Pursuant to Local Bankruptcy Rule 1007-2(b)(1)-2(A) and (C), the following provides
the estimated amount of weekly payroll to the Debtors’ employees (not including officers,
directors, and stockholders) and the estimated amount to be paid to officers, stockholders,
directors, and financial and business consultants retained by the Debtors for the 30-day period
following the filing of the chapter 11 petitions.



 Payments to Employees (Not Including              $71,000
 Officers, Directors, and Stockholders)

 Payments to Officers, Stockholders, and           $24,000
 Directors

 Payments to Financial and Business                $20,000
 Consultants
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                                           Schedule 12

                            Cash Receipts and Disbursements,
                 Net Cash Gain or Loss, Unpaid Obligations and Receivables

        Pursuant to Local Bankruptcy Rule 1007-2(b)(3), the following provides, for the 30-day
period following the filing of the chapter 11 petition, the estimated cash receipts and
disbursements, net cash gain or loss, and obligations and receivables expected to accrue that
remain unpaid, other than professional fees.



 Cash Receipts                                    $449,000

 Cash Disbursements                               $1,630,000

 Net Cash Flow                                    $(1,181,000)

 Unpaid Obligations                               $4,253,000

 Uncollected Receivables                          $706,000
